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     (erroneously sued as Ward Damon Posner
   7 Pheterson and Bleau, PL)
   8
                                         UNITED STATES DISTRICT COURT
   9
                                        CENTRAL DISTRICT OF CALIFORNIA
  10
  11
     GREENWAY    NUTRIENTS,                   INC.,   a   CASE NO. 2:22-cv-3322
  12 Colorado Corporation, and
     GUSTAVO ESCAMILLA                                    NOTICE OF FILING NOTICE OF
  13                                                      REMOVAL TO ADVERSE PARTY
                          Plaintiffs,
  14
                 vs.
  15
       JOHN MARK PIERCE, an individual;
  16   PIERCE BAINBRIDGE, PC, a California
       professional corporation; WARD DAMON
  17   POSNER PHETERSON AND BLEAU,
       P.L., a      Florida     limited      liability
  18   company; PRAVATI CAPITAL, LLC, a
       Delaware limited liability company; IAN
  19   ABAIE, an individual; ALEX CHUCRI,
       an individual; VIRAGE MASTER LP, a
  20   Delaware limited partnership; VIRAGE SPV-
       I LLC, a Delaware limited liability company;
  21   and DOES 1-25, inclusive,

  22                      Defendants

  23
  24 TO ALL PARTIES AND THEIR COUNSEL:
  25            PLEASE TAKE NOTICE under the provisions of 28 U.S.C. §§ 1332, 1441,
  26 and 1446 that on May 16, 2022, Defendant Ward Damon, erroneously sued as Ward
  27 Damon Posner Pheterson and Bleau, P.L., filed with the Clerk of the Court at the
  28 United States Courthouse, Central District of California, located at 350 W 1st Street,
       4868-3682-7680.1
                               NOTICE OF FILING NOTICE OF REMOVAL TO ADVERSE PARTY
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   1 Suite 4311, Los Angeles, CA 90012-4565, the Notice of Removal to Federal Court
   2 and supporting papers to accomplish the removal of the action pending in the
   3 Superior Court of California in and for the County of Los Angeles, entitled
   4 Greenway Nutrients, et al. v. John Mark Pierce, et al., Los Angeles County Superior
   5 Court Case No. 22STCV09854, to the United States District Court for the Central
   6 District of California.
   7            Under 28 U.S.C. §§ 1332, 1441, and 1446, and Federal Rules of Civil
   8 Procedure, this action now will be placed on the docket of the aforementioned
   9 District Court for all further proceedings. A copy of the Notice of Removal and
  10 supporting papers will also be filed with the Clerk of the Los Angeles County
  11 Superior Court, as an attachment to the Notice to State Court of Removal to Federal
  12 Court.
  13
  14 DATED: May 16, 2022                    Respectfully submitted,

  15                                        LEWIS BRISBOIS BISGAARD & SMITH        LLP

  16                                        By: /s/ David M. Florence
  17                                            David M. Florence
                                                Attorneys for Defendant Ward Damon, PL
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                          NOTICE OF FILING NOTICE OF REMOVAL TO ADVERSE PARTY
